907 F.2d 1138Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jose MEZA, Plaintiff-Appellant,v.Danny A. ALFORD;  Gary T. Dixon, Warden, Central Prison;Nurse Daniels;  Unknown Nursing Staff Members, CentralPrison;  Gerald Craft, Certified Health Assistant;  C.L.O'Neil, R.N.;  Ray Drury, Physician's Assistant;  NurseEaster;  Joseph Hamilton, Director of Prisons;  RichardPank, Director of Medical Services, Defendants-Appellees.
    No. 90-6818.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 19, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, District Judge.  (C/A No. 89-479-CRT-F)
      Jose Meza, appellant pro se.
      Jane Ray Garvey, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jose Meza appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Meza v. Alford, C/A No. 89-479-CRT-F (E.D.N.C. Mar. 30, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    